Case 1:22-cv-01643-RCL Document 34-4 Filed 02/09/24 Page 1 of 27




                Exhibit B-1
        Case 1:22-cv-01643-RCL Document 34-4 Filed 02/09/24 Page 2 of 27


                                  Go Pro Construction, LLC
                                              v.
                                 Valsts Nekustamie Ipasumi
                                 Case No. 1:22‐cv‐01643‐RCL
                                          EXHIBIT 1
                   AFFIDAVIT OF ATTORNEYS' FEES AND VERIFIED STATEMENT

                              Relevant
Invoice No.  Invoice Date      Hours        Rate     Applicable Amount Fees        Total:
     9138340     07/25/23           20.4    $496.61          $10,130.84      $0.00 $10,130.84
     9148175     08/18/23           13.3    $496.61           $6,604.91      $0.00 $6,604.91
     9163556     09/18/23              ‐‐         ‐‐                  ‐‐ $1,978.25 $1,978.25
     9173444     10/30/23            1.9    $496.61             $943.56      $0.00    $943.56
     9185514     11/30/23            0.2    $496.61              $99.32      $0.00      $99.32
     9193136     12/14/23            3.1    $496.61           $1,539.49      $0.00 $1,539.49
     9206807     01/18/24            5.5    $496.61           $2,731.36      $0.00 $2,731.36
     2961148     02/02/24           15.4    $496.61           $7,647.79      $0.00 $7,647.79
      642889     2/8/2024              ‐‐         ‐‐                  ‐‐ $725.50      $725.50

                            APPLICABLE LEGAL FEES THROUGH 2/8/2024:                 $32,401.03
               Case 1:22-cv-01643-RCL Document 34-4 Filed 02/09/24   Page 3 of 27
                                                                 1600 WEST END AVENUE, SUITE 2000
                                                                     NASHVILLE, TENNESSEE 37203
                                                                     PHONE: 615.726.5600
                                                                     MAILING ADDRESS:
                                                                     P.O. BOX 331884
 TAX NO.                                                             NASHVILLE, TENNESSEE 37203
                                                                     www.BakerDonelson.com



                                                                                            July 25, 2023
 AS Valsts Nekustamie Ipašumi                                                       Invoice No. 9138340
                                                                         Client.Matter: 2961148.000001
                                                                                 Attorney: Chris Caputo
                                                                    Email: ccaputo@bakerdonelson.com
                                                                                   Phone: 615.726.5709


Client: AS Valsts Nekustamie Ipašumi
Matter: Latvian Embassy Construction Dispute
AS Valsts Nekustamie
                 CaseIpašumi
                       1:22-cv-01643-RCL Document 34-4 Filed 02/09/24 Page 4 of 27       July 25, 2023
Latvian Embassy Construction Dispute                                             Invoice No. 9138340
Client.Matter: 2961148.000001                                                                   Page 2

                                           ITEMIZED FEES

 DATE          TKPR                              DESCRIPTION                                  HOURS




                        BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC
AS Valsts Nekustamie
                 CaseIpašumi
                       1:22-cv-01643-RCL Document 34-4 Filed 02/09/24 Page 5 of 27       July 25, 2023
Latvian Embassy Construction Dispute                                             Invoice No. 9138340
Client.Matter: 2961148.000001                                                                   Page 3

 DATE          TKPR                                   DESCRIPTION                              HOURS




 06/15/23      ZSG     Plan/prepare for deposition of Go Pro corporate designee                  3.20

 06/16/23      ZSG     Draft motion to compel against Go Pro for failure to provide job cost     1.90
                       documents




 06/19/23      MAS     Review and edit Motion to Compel; e-mail to Mr. Gilreath re: same         1.00




                        BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC
AS Valsts Nekustamie
                 CaseIpašumi
                       1:22-cv-01643-RCL Document 34-4 Filed 02/09/24 Page 6 of 27       July 25, 2023
Latvian Embassy Construction Dispute                                             Invoice No. 9138340
Client.Matter: 2961148.000001                                                                   Page 4

 DATE          TKPR                                  DESCRIPTION                              HOURS




 06/20/23      ZSG     Plan/prepare for deposition of Go Pro corporate designee                 4.20



 06/20/23      MAS     Review letter from Mr. Barnes; finalize Motion to Compel                 0.20




 06/22/23      ZSG     Plan/prepare for depositions of Go Pro and Optimum                       2.30



 06/23/23      ZSG     Plan/prepare for depositions of Go Pro and Optimum                       1.80

 06/23/23      ZSG     Review and prepare exhibits for depositions of Go Pro and Optimum        2.10




                        BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC
AS Valsts Nekustamie
                 CaseIpašumi
                       1:22-cv-01643-RCL Document 34-4 Filed 02/09/24 Page 7 of 27       July 25, 2023
Latvian Embassy Construction Dispute                                             Invoice No. 9138340
Client.Matter: 2961148.000001                                                                   Page 5

 DATE          TKPR                                  DESCRIPTION                                  HOURS




 06/28/23      ZSG     Draft amended notice of deposition noting Go Pro deposition for July 6th     0.20




 06/28/23      ZSG     Plan/prepare for depositions of Go Pro (July 6th @ 10am)                     1.40


                        BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC
AS Valsts Nekustamie
                 CaseIpašumi
                       1:22-cv-01643-RCL Document 34-4 Filed 02/09/24 Page 8 of 27       July 25, 2023
Latvian Embassy Construction Dispute                                             Invoice No. 9138340
Client.Matter: 2961148.000001                                                                   Page 6

 DATE          TKPR                                  DESCRIPTION                               HOURS




 06/29/23      ZSG     Additional preparation for deposition of Go Pro corporate designee        1.10
                       following deposition of Priscilla Winters




                                        ITEMIZED DISBURSEMENTS

                             DESCRIPTION                                            DATE    AMOUNT




                        BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC
               Case 1:22-cv-01643-RCL Document 34-4 Filed 02/09/24   Page 9 of 27
                                                                 1600 WEST END AVENUE, SUITE 2000
                                                                     NASHVILLE, TENNESSEE 37203
                                                                     PHONE: 615.726.5600
                                                                     MAILING ADDRESS:
                                                                     P.O. BOX 331884
 TAX NO.                                                             NASHVILLE, TENNESSEE 37203
                                                                     www.BakerDonelson.com



                                                                                         August 18, 2023
 AS Valsts Nekustamie Ipašumi                                                       Invoice No. 9148175
                                                                         Client.Matter: 2961148.000001
                                                                                 Attorney: Chris Caputo
                                                                    Email: ccaputo@bakerdonelson.com
                                                                                   Phone: 615.726.5709


Client: AS Valsts Nekustamie Ipašumi
Matter: Latvian Embassy Construction Dispute
AS Valsts Nekustamie
                CaseIpašumi
                      1:22-cv-01643-RCL Document 34-4 Filed 02/09/24 Page 10 of 27 August 18, 2023
Latvian Embassy Construction Dispute                                             Invoice No. 9148175
Client.Matter: 2961148.000001                                                                  Page 2

                                               ITEMIZED FEES

 DATE          TKPR                                  DESCRIPTION                                    HOURS




 07/05/23      ZSG     Preparation for deposition of Go Pro corporate designee, marking exhibits,     2.60
                       coordinating necessary documents for testimony




 07/06/23      ZSG     Final preparation for deposition of Go Pro corporate designee (7/6/23 @        1.30
                       10am)

 07/06/23      ZSG     Attend deposition of Go Pro corporate designee (Sameh Elrahimy)                5.50

 07/06/23      ZSG     Review Go Pro response to motion to compel                                     0.30

 07/07/23      ZSG     Draft reply in support of motion to compel                                     2.10




                        BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC
AS Valsts Nekustamie
                CaseIpašumi
                      1:22-cv-01643-RCL Document 34-4 Filed 02/09/24 Page 11 of 27 August 18, 2023
Latvian Embassy Construction Dispute                                             Invoice No. 9148175
Client.Matter: 2961148.000001                                                                  Page 3

 DATE          TKPR                                  DESCRIPTION                                       HOURS




 07/10/23      MAS     Review and edit Reply in Support of Motion to Compel                              0.40

 07/11/23      ZSG     Revise reply to motion to compel based on review of Go Pro deposition             0.40
                       transcript



 07/13/23      ZSG     Revise reply in support of motion to compel and prepare exhibits, proposed        0.30
                       order for filing

 07/13/23      MAS     Review and edit Reply to Opposition to Motion to Compel                           0.40




                                        ITEMIZED DISBURSEMENTS

                             DESCRIPTION                                            DATE            AMOUNT




                        BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC
               Case 1:22-cv-01643-RCL Document 34-4 Filed 02/09/241600Page  12 of 27
                                                                       WEST END AVENUE, SUITE 2000
                                                                      NASHVILLE, TENNESSEE 37203
                                                                      PHONE: 615.726.5600
                                                                      MAILING ADDRESS:
                                                                      P.O. BOX 331884
 TAX NO.                                                              NASHVILLE, TENNESSEE 37203
                                                                      www.BakerDonelson.com



                                                                                     September 18, 2023
 AS Valsts Nekustamie Ipašumi                                                        Invoice No. 9163556
                                                                          Client.Matter: 2961148.000001
                                                                                  Attorney: Chris Caputo
                                                                     Email: ccaputo@bakerdonelson.com
                                                                                    Phone: 615.726.5709


Client: AS Valsts Nekustamie Ipašumi
Matter: Latvian Embassy Construction Dispute
                CaseIpašumi
AS Valsts Nekustamie  1:22-cv-01643-RCL Document 34-4 Filed 02/09/24 Page 13 of 27September 18, 2023
Latvian Embassy Construction Dispute                                             Invoice No. 9163556
Client.Matter: 2961148.000001                                                                  Page 2

                                                  ITEMIZED FEES

 DATE            TKPR                                    DESCRIPTION                         HOURS




                                            ITEMIZED DISBURSEMENTS

                                 DESCRIPTION                                DATE        AMOUNT




 Deposition Transcripts Planet Depos LLC; 595188; 07/18/2023; Deposition   07/18/23         1,978.25
 Transcript of Sameh Elrahimy

                           BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC
               Case 1:22-cv-01643-RCL Document 34-4 Filed 02/09/241600Page  14 of 27
                                                                       WEST END AVENUE, SUITE 2000
                                                                      NASHVILLE, TENNESSEE 37203
                                                                      PHONE: 615.726.5600
                                                                      MAILING ADDRESS:
                                                                      P.O. BOX 331884
 TAX NO.                                                              NASHVILLE, TENNESSEE 37203
                                                                      www.BakerDonelson.com



                                                                                        October 30, 2023
 AS Valsts Nekustamie Ipašumi                                                        Invoice No. 9173444
                                                                          Client.Matter: 2961148.000001
                                                                                  Attorney: Chris Caputo
                                                                     Email: ccaputo@bakerdonelson.com
                                                                                    Phone: 615.726.5709


Client: AS Valsts Nekustamie Ipašumi
Matter: Latvian Embassy Construction Dispute
AS Valsts Nekustamie
                CaseIpašumi
                      1:22-cv-01643-RCL Document 34-4 Filed 02/09/24 Page 15 of 27 October 30, 2023
Latvian Embassy Construction Dispute                                             Invoice No. 9173444
Client.Matter: 2961148.000001                                                                  Page 2

                                           ITEMIZED FEES

 DATE          TKPR                             DESCRIPTION                                  HOURS




                        BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC
AS Valsts Nekustamie
                CaseIpašumi
                      1:22-cv-01643-RCL Document 34-4 Filed 02/09/24 Page 16 of 27 October 30, 2023
Latvian Embassy Construction Dispute                                             Invoice No. 9173444
Client.Matter: 2961148.000001                                                                  Page 3

 DATE          TKPR                                   DESCRIPTION                                    HOURS
 09/25/23      ZSG     Draft motion for sanctions following Go Pro failure to abide by court order     1.10
                       on motion to compel

 09/26/23      MAS     Conference with Mr. Gilreath re: Motion for Sanctions; work on issues re:       0.40
                       same

 09/27/23      MAS     Work on Motion for Sanctions; e-mails re: same                                  0.20




 09/27/23      ZSG     Revise motion for sanctions for Go Pro's failure to abide by Court order        0.20




                        BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC
               Case 1:22-cv-01643-RCL Document 34-4 Filed 02/09/241600Page  17 of 27
                                                                       WEST END AVENUE, SUITE 2000
                                                                      NASHVILLE, TENNESSEE 37203
                                                                      PHONE: 615.726.5600
                                                                      MAILING ADDRESS:
                                                                      P.O. BOX 331884
 TAX NO.                                                              NASHVILLE, TENNESSEE 37203
                                                                      www.BakerDonelson.com



                                                                                      November 30, 2023
 AS Valsts Nekustamie Ipašumi                                                        Invoice No. 9185514
                                                                          Client.Matter: 2961148.000001
                                                                                  Attorney: Chris Caputo
                                                                     Email: ccaputo@bakerdonelson.com
                                                                                    Phone: 615.726.5709


Client: AS Valsts Nekustamie Ipašumi
Matter: Latvian Embassy Construction Dispute
                CaseIpašumi
AS Valsts Nekustamie  1:22-cv-01643-RCL Document 34-4 Filed 02/09/24 Page 18 of 27November 30, 2023
Latvian Embassy Construction Dispute                                             Invoice No. 9185514
Client.Matter: 2961148.000001                                                                  Page 2

                                               ITEMIZED FEES

 DATE          TKPR                                   DESCRIPTION                                HOURS




 10/03/23      ZSG     Revise motion for sanctions; draft proposed order and submit for filing     0.20




                        BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC
               Case 1:22-cv-01643-RCL Document 34-4 Filed 02/09/241600Page  19 of 27
                                                                       WEST END AVENUE, SUITE 2000
                                                                      NASHVILLE, TENNESSEE 37203
                                                                      PHONE: 615.726.5600
                                                                      MAILING ADDRESS:
                                                                      P.O. BOX 331884
 TAX NO.                                                              NASHVILLE, TENNESSEE 37203
                                                                      www.BakerDonelson.com



                                                                                      December 14, 2023
 AS Valsts Nekustamie Ipašumi                                                        Invoice No. 9193136
                                                                          Client.Matter: 2961148.000001
                                                                                  Attorney: Chris Caputo
                                                                     Email: ccaputo@bakerdonelson.com
                                                                                    Phone: 615.726.5709


Client: AS Valsts Nekustamie Ipašumi
Matter: Latvian Embassy Construction Dispute
                CaseIpašumi
AS Valsts Nekustamie  1:22-cv-01643-RCL Document 34-4 Filed 02/09/24 Page 20 of 27December 14, 2023
Latvian Embassy Construction Dispute                                             Invoice No. 9193136
Client.Matter: 2961148.000001                                                                  Page 2

                                               ITEMIZED FEES

 DATE          TKPR                                  DESCRIPTION                                     HOURS




 11/09/23      ZSG     Prepare letter to Go Pro regarding insufficiency of supplemental production     0.70
                       of documents




                        BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC
                CaseIpašumi
AS Valsts Nekustamie  1:22-cv-01643-RCL Document 34-4 Filed 02/09/24 Page 21 of 27December 14, 2023
Latvian Embassy Construction Dispute                                             Invoice No. 9193136
Client.Matter: 2961148.000001                                                                  Page 3

 DATE          TKPR                                  DESCRIPTION                              HOURS
 11/16/23      ZSG     Draft reply to Go Pro response to show cause order                       1.90




 11/17/23      MAS     Review and edit Reply to Go Pro's Response to Order to Show Cause        0.50




                                        ITEMIZED DISBURSEMENTS

                             DESCRIPTION                                          DATE     AMOUNT




                        BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC
               Case 1:22-cv-01643-RCL Document 34-4 Filed 02/09/24 Page 22 of 27
                                                                 1600 WEST END AVENUE, SUITE 2000
                                                                 NASHVILLE, TENNESSEE 37203
                                                                 PHONE: 615.726.5600
                                                                 MAILING ADDRESS:
                                                                 P.O. BOX 331884
 TAX NO.                                                         NASHVILLE, TENNESSEE 37203
                                                                 www.BakerDonelson.com



                                                                                   January 18, 2024
 AS Valsts Nekustamie Ipašumi                                                  Invoice No. 9206807
                                                                    Client.Matter: 2961148.000001
                                                                            Attorney: Chris Caputo
                                                               Email: ccaputo@bakerdonelson.com
                                                                              Phone: 615.726.5709


Client: AS Valsts Nekustamie Ipašumi
Matter: Latvian Embassy Construction Dispute



 Current Professional Services Rendered
AS Valsts Nekustamie
                CaseIpašumi
                      1:22-cv-01643-RCL Document 34-4 Filed 02/09/24 Page 23 of 27 January 18, 2024
Latvian Embassy Construction Dispute                                             Invoice No. 9206807
Client.Matter: 2961148.000001                                                                  Page 2

                                               ITEMIZED FEES

 DATE          TKPR                                   DESCRIPTION                                  HOURS




 12/13/23      ZSG     Prepare outline for sanctions hearing                                         1.30

 12/13/23      MAS     Review Go Pro's Second Response to Court's Order dated November 9,            0.30
                       2023; e-mail to Mr. Gilreath re: same and hearing on Motion for Sanctions




 12/14/23      ZSG     Additional preparation for hearing on motion for sanctions                    1.20

 12/15/23      MAS     Conference with Mr. Gilreath re: Motion for Sanctions hearing; e-mails        0.50
                       from/to Mr. Gilreath re: same; telephone call with Mr. Gilreath; review
                       Court Order; e-mail to

 12/15/23      ZSG     Travel to and from court for hearing on motion to compel                      1.20

 12/15/23      ZSG     Attend hearing on motion for sanctions                                        1.00




                                                                             TOTAL CURRENT FEES

                                                                 CURRENT AMOUNT DUE




                        BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC
               Case 1:22-cv-01643-RCL Document 34-4 Filed 02/09/24 Page 24 of 27
                                                                 1600 WEST END AVENUE, SUITE 2000
                                                                 NASHVILLE, TENNESSEE 37203
                                                                 PHONE: 615.726.5600
                                                                 MAILING ADDRESS:
                                                                 P.O. BOX 331884
 TAX NO.                                                         NASHVILLE, TENNESSEE 37203
                                                                 www.BakerDonelson.com



                                                                                   February 2, 2024
 AS Valsts Nekustamie Ipašumi                                                  Invoice No. 9210214
                                                                    Client.Matter: 2961148.000001
                                                                            Attorney: Chris Caputo
                                                               Email: ccaputo@bakerdonelson.com
                                                                              Phone: 615.726.5709


Client: AS Valsts Nekustamie Ipašumi
Matter: Latvian Embassy Construction Dispute
AS Valsts Nekustamie
                CaseIpašumi
                      1:22-cv-01643-RCL Document 34-4 Filed 02/09/24 Page 25 of 27 February 2, 2024
Latvian Embassy Construction Dispute                                             Invoice No. 9210214
Client.Matter: 2961148.000001                                                                  Page 2

                                               ITEMIZED FEES

 DATE          TKPR                                   DESCRIPTION                                   HOURS




 01/29/24      ZSG     Plan and prepare for deposition of Go Pro custodian of records                 2.50

 01/29/24      ZSG     Take deposition of Go Pro custodian of records in response to August 21,       2.20
                       2023 court order (re: supplemental documents from Go Pro)

 01/29/24      MAS     Conference with Mr. Gilreath re: deposition of Go Pro's corporate designee     0.50
                       and strategize for hearing and completion of discovery




 01/30/24      ZSG     Prepare outline for 1/31/24 hearing on motion for sanctions, pending           0.50
                       discovery disputes




 01/30/24      MAS     Conference with Mr. Gilreath re: strategy for Motion for Sanctions hearing     0.30
                       and completion of discovery

 01/30/24      ZSG     Final preparation and review of filings for motions hearing on 1/31/24         0.80

 01/31/24      ZSG     Travel to US District Court (Washington, DC) for motions hearing               0.80

 01/31/24      ZSG     Travel from US District Court (Washington, DC) to office following motions     1.20
                       hearing

 01/31/24      ZSG     Attending hearing on VNI motion for sanctions                                  1.00

 01/31/24      MAS     Conference with Mr. Gilreath re: Motion for Sanctions hearing and relief       0.20
                       awarded


                        BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC
AS Valsts Nekustamie
                CaseIpašumi
                      1:22-cv-01643-RCL Document 34-4 Filed 02/09/24 Page 26 of 27 February 2, 2024
Latvian Embassy Construction Dispute                                             Invoice No. 9210214
Client.Matter: 2961148.000001                                                                  Page 3

 DATE          TKPR                                   DESCRIPTION                                    HOURS
 01/31/24      MAS     Work on attorney's fees petition                                                0.20




 01/31/24      ZSG     Draft Statement of Costs and Proposed Sanctions as ordered by the court         2.50
                       on 1/31/2024




 02/01/24      MAS     Review and edit Affidavit in Support of Attorney's Fees, Statement of Costs     1.40
                       & Proposed Sanctions, and proposed Order; review attorneys' fees and
                       invoices; conference with Mr. Gilreath and work on issues re: same

 02/01/24      ZSG     Revise Statement of Costs and Proposed Sanctions and proposed order;            0.90
                       draft affidavit on attorney's fees and verified statement




 02/01/24      ZSG     Revise Statement of Costs and Proposed Sanctions and proposed order in          0.40
                       response to Court's 1/31/24 order.




                        BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ, PC
                   Case 1:22-cv-01643-RCL Document 34-4 Filed 02/09/24 Page 27 of 27

                                                                                    INVOICE                                                  1 of 1
                                                                                   Invoice No.             Invoice Date            Job No.
                                                                                      642889                 2/8/2024              523435
                                                                                    Job Date                            Case No.
                                                                                     1/29/2024                   1:22-cv-01643-RCL
                                                                                                      Client and Case Name
                                                                               Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
      Client:
                                                                               (Baltimore) - Go Pro Construction, LLC -v- Ipasumi
      Zachary S. Gilreath, Esquire
      Baker, Donelson, Bearman, Caldwell & Berkowitz, PC                                                Payment Terms
      (Baltimore)
      100 Light Street                                                                                   Due upon receipt
      Suite 1900
      Baltimore, MD 21202

 TRANSCRIPT WITH INDEX OF:
      Sameh Elrahimy                                                                         118.00 Pages                                501.50
            LEF File                                                                           1.00 Files                                175.00
            Processing Fee                                                                     1.00                                         49.00
                                                                                      TOTAL DUE >>>                                   $725.50
                                                                                      AFTER 3/9/2024 PAY                               $761.78
 Client law firm, as named above is responsible for the payment of this invoice and such payment is not contingent on any prior receipt of
 monies by client. By use of Planet Depos' services client accepts the terms and conditions set forth herein.

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 responsible for payment of Planet Depos' reasonable attorney's fees. Thank you for your business.




Tax ID: XX-XXXXXXX
                                            Please detach bottom portion and return with payment.




  Zachary S. Gilreath, Esquire                                                 Invoice No.      : 642889
  Baker, Donelson, Bearman, Caldwell & Berkowitz,                              Invoice Date     : 2/8/2024
  PC (Baltimore)                                                               Total Due        : $725.50
  100 Light Street
  Suite 1900                                                                   AFTER 3/9/2024 PAY $761.78
  Baltimore, MD 21202




                                                                              Job No.           : 523435
Remit To: Planet Depos, LLC                                                   BU ID             : *01-DMV
          P.O. BOX 791571
                                                                              Case No.          : 1:22-cv-01643-RCL
          Baltimore, MD 21279-1571
                                                                              Case Name         : Go Pro Construction, LLC -v- Ipasumi
